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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


SECURITIES AND EXCHANGE
COMMISSION,
                                                      No. 17-cv-8223 (PKC)
                        Plaintiff,

                 v.

MOHAMMED ALI RASHID,

                        Defendant.


                        DECLARATION OF MATTHEW T. HOFFMAN

          I, Matthew T. Hoffman, pursuant to 28 U.S.C. § 1746, declare as follows:

          1.     I am over 18 years of age and reside in New Canaan, Connecticut. I have been

retained by the Securities and Exchange Commission (the “SEC,” or the “Plaintiff”) to provide

my expert opinions on certain issues in this case. I am making this declaration with the

understanding that SEC counsel intends to submit it as my direct testimony in this case. I intend

to appear at trial to reaffirm that my declaration is true and correct, and to answer questions on

cross examination and re-direct examination. I intend to testify consistently with my expert

report dated April 15, 2019 (“Hoffman Report” or “my report”), a copy of which is attached

hereto.

THE SCOPE OF MY OPINIONS

          2.     I understand that January 2010 to June 2013 has been identified as the “Relevant

Period” in this case. As pertains to the Relevant Period, I was asked to opine on the following

questions:




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               A.     Whether Rashid’s submission of personal expenses to Apollo for

       reimbursement, allegedly as legitimate business expenses, conformed to applicable

       standards of conduct for investment adviser professionals;

               B.     Whether a professional, such as Rashid, who was working for a major

       private equity management firm should have known that personal expenses he incurred

       while allegedly doing business with companies in which Apollo-advised private equity

       funds (the “Relevant Funds”) had made investments (“portfolio companies”), would be

       submitted as legitimate, reimbursable expenses to the Relevant Funds and/or the portfolio

       companies; and

               C.     Whether private equity funds like the Relevant Funds would have wanted

       to know about Rashid’s conduct.

EXPERT QUALIFICATIONS

       3.      My employment and education are summarized in my current curriculum vitae, a

copy of which is appended as Exhibit A to my report. I obtained an MBA in finance from the

University of Chicago in 1982, and started my career as a derivatives trader at JPMorgan Chase

& Co. After seven years, I moved to Merrill Lynch where I continued to do much of the same. I

transitioned into investment management in 1994 while working at UBS, AG (pka Swiss Bank

Corporation, AG). There, my team and I constructed investment portfolios for the bank’s

proprietary capital and for external client funding. These portfolios mainly consisted of hedge

fund-style or private equity fund-style investments. I started work at Credit Suisse Group AG in

2000 and while there, constructed new investment portfolios, and managed legacy products

within the asset management group. I was responsible for investing capital and managing in

excess of $6 billion. I created and managed more than 40 separately managed investment

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accounts (“SMAs”). SMAs were accounts where the assets were legally owned directly by the

client-investor, but were managed by me as the portfolio manager under a service agreement and

power of attorney. I was instrumental in drafting and implementing the due diligence procedures

for selecting and managing the assets, and the investment process for managing the assets,

including the process for defining relevant expenses, and allocating those expenses to the

portfolios.

       4.      I started an asset management company in 2003, and following its merger in

2006, I was Chief Investment Officer at Weston Capital, a private wealth management firm,

where I was responsible for investing and managing investor funds in excess of $2 billion, across

multiple asset classes. There were six hedge fund products, and two private equity fund products.

While there, I drafted the investment process and procedures manuals, implemented checks and

balances, and documented risk policies and procedures around the investment products.

       5.      I am currently a Partner at RoundTable Financial Group, consulting to asset

managers and investment clients. I maintain my securities licenses with the United States

Securities and Exchange Commission and the Financial Industry Regulatory Authority

(“FINRA”).

       6.      In the capacities described above, I have held strategic management positions at

large, global, financial institutions where I created and implemented investment strategies,

guidelines, processes, and procedures, often in tandem with management, legal counsel, the

compliance officer, and risk manager. We developed such procedures to ensure proper checks

and balances and to safeguard clients’ investments. I am familiar with the duties and

responsibilities of an investment manager to act as a fiduciary and to adhere to compliance



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policies, governing documentation, investment management agreements, service level

agreements, and securities regulations.

        7.      As an experienced investment manager, I accepted investment capital from U.S.

and international investors, and then invested that same capital in more than four hundred private

companies, private credit funds, private equity funds, or hedge funds.

        8.      Throughout the fund management process, various expenses were incurred by my

portfolio management team and me. Such expenses related to research and due diligence work

completed when analyzing the prospective investments. Examples of these expenses included

securities databases, certain data technologies, travel costs (including transportation,

accommodation, and meals), and to some extent entertainment. Expense policies were defined by

the firm. Since I was responsible for establishing many of the policies and procedures, I wrote,

edited, and approved many of them.

        9.      My roles at Credit Suisse, UBS, and Weston Capital were similar to the

management and fiduciary roles held by Rashid at Apollo. I have been an investment manager

and have managed multiple private investments. I was responsible for investment priorities, due

diligence, research, and related investment work. I worked closely with our cash managers, our

chief financial officer, and treasurer in relation to all cash functions. In these roles, I have had

experience budgeting both revenues and expenses, allocating investor money, managing

investments, liquidating investments, and returning investor capital.

ASSUMPTIONS AND MATERIALS REVIEWED

        10.     I was asked to assume that the facts alleged in the SEC’s Complaint in this case

are true. My opinions might change if those facts are shown to be untrue. I have also been

provided with record material which supports the conclusion that a reasonable employee, like

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someone in Rashid’s position, knew or should have known that Apollo would ultimately pass his

expenses on to the Relevant Funds. These documents were identified previously during the

discovery phase and were marked with Bates numbers.

        11.     A complete list of documents I reviewed and considered in preparing this report is

set forth in Exhibit B to my report. If I receive additional documents or information, I will

modify or supplement my report as necessary to reflect such additional data.

        12.     Rashid was employed as an investment adviser by Apollo. Apollo established a

clear set of policies to educate its employees about their fiduciary responsibilities. Apollo’s

policies were consistent with industry standards. I reviewed the following standard process and

procedures from respected firms in the investment advisory industry:

        13.     The Institutional Limited Partners Association (“ILPA”) promulgated standards

called the Private Equity Principles embodied in:

                …a document that contains best practices concepts and that speaks to the

                issues relating to the alignment of interest between general partners and

                limited partners [investors], fund governance, and transparency and reporting.

                It is intended to serve as a common framework …with the goal of improving

                the private equity industry…. Endorsement of these Principles is an indication

                of general support for the ILPA.1


        14.     Apollo was a member of the ILPA, and officially endorsed its Principles

throughout Rashid’s employment. The ILPA supports and recommends expense recognition


1
 ILPA Private Equity Principles Endorsements, December 9, 2011; November 21, 2012; September 12, 2013,
Complete list of organizations that have endorsed the ILPA Private Equity Principles.


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guidelines developed by both the Internal Revenue Services (“IRS”) and the Association of

International Certified Public Accountants (“AICPA”). The IRS regularly defines what types of

reimbursable expenses are acceptable from the tax perspective. Following IRS guidelines, the

AICPA outlines a simple recommendation for employee expense reimbursement. There are

generally five steps to follow:

                   1.      Form a policy for the expense reimbursement process,

                   2.      Determine what expenses employees can claim,

                   3.      Create a system for collecting expense claims,

                   4.      Verify the legitimacy of the expenses, and

                   5.      Make reimbursement payments within a specified timeframe.


           Apollo’s T&E process mimicked these steps – there was a clear policy for expense

reimbursement, the types of permissible business expenses were defined, there was an expense

claims process which was verified, and when signed off, reimbursements were made.

           15.     Apollo is also a member of another business organization called AIMA, the

Alternative Investment Management Association Limited. Its Guides to Sound Practices are

“aligned with policy makers, legislators, and regulatory authorities around the world. 2” Their

Guide’s commentary on expense reimbursement and allocation is consistent with that of the

ILPA.

           16.     The Standards Board for Alternative Investments (“SBAI”) is a global

organization which sets out guidance for investment managers, including private equity fund

managers. It brings managers and investors together to establish responsible standards of practice


2
    AIMA’s Objectives and Principles, www.aima.org, Advocate, Guides to Sound Practices.


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that meet investor requirements. It defines best standard practices in its document, The

Alternative Investment Standards. The Standards and Guidance [2] clause3 discusses the

commercial terms applicable to fees and expenses, and stresses that the details and nature of any

expenses should be effectively monitored and accurately disclosed.


        17.      In a letter endorsed by more than 400 ILPA members, and sent to the United

States Secretary of the Treasury4, the ILPA’s Managing Director, Jennifer Choi wrote about

issues where the United States financial system needed support. In the letter, she described how

“there may be impropriety and insufficient disclosure of fee and expense allocations” in private

equity funds, and that investors’ ability “to discern questionable practices [is] limited.” She

quotes a statement made by Andrew Ceresney, Director, U.S. Securities and Exchange

Commission, Division of Enforcement, saying “even experienced investors can be defrauded if

they lack transparency into the various fees, expenses and practices5” in the private equity fund

industry. ILPA members like Apollo, support transparency and controls over fees and clarity in

the allocation process so that investors can be properly protected and informed.

        18.      Apollo’s policies are consistent with other industry oversight agencies, accounting

and audit firms, and specialists in expense management. Apollo is consistent in their views of

expense reimbursement and allocation procedures. Apollo employs many Chartered Financial

Analysts. Their industry overseer, the CFA Institute of Chartered Financial Analysts, maintains a




3
  Standards Board for Alternative Investments, The Alternative Investment Standards, Section 2.1, p. 5, Commercial
terms disclosure, https://www.sbai.org/standards/summary-of-standards/, November, 2015.
4
  Letter from Jennifer Choi, Managing Director, ILPA to The Honorable Steven Mnuchin, July 28, 2017.
5
  Andrew Ceresney, Director, Division of Enforcement, U.S. Securities and Exchange Commission, “Private Equity
Enforcement,” Securities Enforcement Forum West 2016, San Francisco, May 12, 2016.


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code of ethics which states that its members will “[p]lace the integrity of the investment

profession and the interests of clients above [one’s] own personal interests.6”

        19.     The CFA Institute adheres to its Global Investment Performance Standards

(“GIPS”), voluntary standards used by investment managers in the asset management world.

GIPS recordkeeping guidelines and information maintenance is an important part of sustaining

the integrity of the asset valuation methodology. GIPS standards state that there need to be

sufficient procedures in place to ensure there is adequate supporting documentation to accurately

reflect expenses, the methods used to record those expenses, including management fees, and

that expenses are appropriately treated when calculating performance returns. Those procedures

state that expenses are to be allocated and recorded to the proper fund, in the correct amounts,

and on a timely basis.7

        20.     Certified public accounting firms like Deloitte & Touche LLP (Apollo’s

accounting firm), follow procedures and guidelines consistent with those upheld by all certified

public accountants (“CPAs”). CPAs are trusted financial advisers who maintain the highest

standards of knowledge and ethics when operating in financial capacities. They follow Internal

Revenue Service (“IRS”) and Department of Labor (“DOL”) guidelines. Accounting firms look

to see whether the expense reimbursement process compliant with IRS and DOL guidelines, and

is structured as an accountable plan8 which exists when the following conditions are met:

                1.      There is a business reason for the expense and the expense is in

                        connection with the performance of services as an employee.


6
  CFA Institute of Chartered Financial Analysts, https://www.cfainstitute.org, Code of Ethics.
7
  2012 CFA Institute, GIPS Guidance Statement of Performance, 16 March 2012, p. 6.
8
  Prange, Margaret, CPA, C-Bulletin Issue 03 02-15, Calibre CPA Group, PLLC, Is Your Expense Reimbursement
Policy Compliant with IRS and DOL Guidelines?


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               2.      The expense is substantiated or deemed substantiated. There must be

                       receipts and invoices that document the nature and amount of the

                       expenditure.

       21.     The private equity industry often uses expense management specialists to create

the process and format for expense reimbursement, and travel and entertainment policies. Firms

like Abacus Labs, Inc., provide expense reporting applications. Chrome River Technologies, Inc.

offers expense management software. SAP Concur delivers global expense reporting solutions,

like that which the Gates Foundation uses for its expense reimbursement policies. Each of these

firms follows a similar, compliant format, consistent with the accountability-plan format

described above.

       22.     The fund management industry and Apollo describe the standards of care they

presume investment advisers to realize. Maintaining proper standards of care is not a

complicated or difficult task. Most of Apollo’s investment advisers have earned advanced

degrees in education, and have excelled in business and finance. To become a partner, and even a

senior partner within a firm like Apollo, it is incumbent upon that adviser to act as a role model,

act professionally, and be a trusted fiduciary when managing investor money, consistent with all

professional firms in the private equity industry.

       23.     As discussed in my report, I also reviewed a number of documents which

indicated to me that Apollo’s policies and procedures were consistent with the industry standards

noted above. The documents that I reviewed included Apollo’s Code of Ethics, Employee

Handbook, and Travel & Expense Policies during the Relevant Period, as well as offering

materials, organizational documents and management agreements related to the private equity

funds that I understand Rashid advised.

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EXPERT OPINIONS

       24.       Based upon my review of the Complaint and a significant volume of discovery

materials as identified in my report, my opinions in this case can be summarized as follows:

                 A.     During the Relevant Period, Rashid’s submission of numerous personal

       expenses to Apollo for reimbursement, allegedly as legitimate business expenses,

       contravened the norms and best business practices that were well-accepted by financial

       firms and those in the investment advisory industry. Such customs and practices applied

       to all principals and employees. Investment advisers (and certain employees of

       investment advisers) are fiduciaries that must place their clients’ interests above their

       own interests. Apollo is an investment adviser; Rashid was employed by Apollo and was

       required to adhere to investment adviser guidelines. As fiduciaries, investment advisers

       also owe their clients a duty of honesty. These bedrock customs and practices are derived

       not only from established legal standards but also from recognition in best practices,

       codes of ethics, and company policies and procedures in the financial industry. Rashid

       violated these customs and practices by misrepresenting a significant amount of personal

       expenses as legitimate business expenses, when a reasonable employee should have

       known that some of those personal expenses ultimately would be allocated either to

       portfolio companies that he helped manage, or to private equity funds that he helped to

       advise.

                 B.     A reasonable employee in Rashid’s position should have known that

       expenses which he placed on his business credit card and represented to have been

       incurred on behalf of private equity funds and/or portfolio companies in which such

       funds had an investment interest ultimately would be submitted to the Relevant Funds as

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 reimbursable management expenses. Rashid had worked for another financial firm

 previously, Goldman Sachs. Rashid had experience with the business expense

 reimbursement process, as Goldman Sachs had strict expense policies and procedures.

 Rashid was also a senior Apollo partner who was a direct owner of the funds as a limited

 partner. He had access to the funds’ legal documents and should have, or could have

 known that the funds, on whose behalf he claimed to have incurred various expenses,

 ultimately would bear the costs. During the Relevant Period, it was standard practice for

 private equity fund managers to be reimbursed for expenses that their partners and

 employees incurred on a fund’s behalf. Apollo had management agreements in place with

 each of the funds it advised and those management agreements followed that standard

 practice. Rashid certainly should have known this basic fact as an investment

 professional and as an Apollo senior partner. For all these reasons, Rashid should have

 known that the funds, on whose behalf he claimed to have incurred various expenses,

 ultimately would bear those costs.

        C.       The private equity funds that Rashid advised would want to know about

 Rashid’s conduct. Indeed, any fund or fund investor would deem it important to know if

 an employee of the fund manager was misappropriating money directly or indirectly,

 regardless of the amount in relation to assets under management. Any misappropriation

 of funds would be a red flag. Misappropriations could also raise serious questions about

 the manager’s integrity and trustworthiness in general. Moreover, institutional investors

 like pension funds, that invest in private equity funds, owe fiduciary duties to their own

 investors. Such investors would also deem the misappropriation of assets by a fund

 manager to be important. Apollo, which organized, managed, and controlled the Relevant


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       Funds, deemed Rashid’s misconduct to be significant and harmful, as exemplified by its

       decision to terminate his employment, notwithstanding his past performance, or his

       potential to make money for the firm in the future.




       Pursuant to 28 U.S.C. § 1746, I, Matthew T. Hoffman, declare under penalty of perjury

that the foregoing is true and correct.




Executed on July 17, 2019

New Canaan, Connecticut




                                            _________________________
                                                 Matthew T. Hoffman




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                          In the Matter of




            SECURITIES AND EXCHANGE COMMISSION
                            Plaintiff

                                 v.

                     MOHAMMED ALI RASHID
                          Defendant




           EXPERT REPORT OF MATTHEW T. HOFFMAN

                           April 15, 2019




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I.     SCOPE OF ENGAGEMENT

       1.    I have been retained by the Securities and Exchange Commission (the “SEC,” or
             the “Plaintiff”) to provide my expert opinions on certain issues in the case before
             the United States District Court, Southern District of New York between the
             Plaintiff, and Mohammed Ali Rashid (“Rashid,” or the “Defendant”). Rashid was
             employed by Apollo Global Management, LLC, and its subsidiary and affiliate
             entities (“Apollo,” or the “Company”) during the period in question, from January
             2010 to June 2013 (“the “Relevant Period”). Specifically, I have been asked to
             opine on:

             A.     Whether Rashid’s submission of personal expenses to Apollo for
             reimbursement, allegedly as legitimate business expenses, conformed to
             applicable standards of conduct for investment adviser professionals;

             B.     Whether a professional, such as Rashid, who was working for a major
             private equity management firm should have known that personal expenses he
             incurred while allegedly doing business with companies in which Apollo-advised
             private equity funds (the “Relevant Funds”) had made investments (“portfolio
             companies”), would be submitted as legitimate, reimbursable expenses to the
             Relevant Funds and/or the portfolio companies; and

             C.     Whether private equity funds like the Relevant Funds would have wanted
             to know about Rashid’s conduct.

       2.    My fee for services is $600 per hour. My compensation is not, in any way,
             dependent on the outcome of this case, or on the substance of my opinions.

II.    EXPERT QUALIFICATIONS

       3.    My employment and education are summarized in my current curriculum vitae, a
             copy of which is appended to the end of this report as Exhibit A. I obtained an
             MBA in finance from the University of Chicago in 1982, and started my career as
             a derivatives trader at JPMorgan Chase & Co. After seven years, I moved to
             Merrill Lynch where I continued to do much of the same. I transitioned into
             investment management in 1994 while working at UBS, AG (pka Swiss Bank

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       Corporation, AG). There, my team and I constructed investment portfolios for the
       bank’s proprietary capital and for external client funding. These portfolios mainly
       consisted of hedge fund-style or private equity fund-style investments. I started
       work at Credit Suisse Group AG in 2000 and while there, constructed new
       investment portfolios, and managed legacy products within the asset management
       group. I was responsible for investing capital and managing in excess of $6
       billion. I created and managed more than 40 separately managed investment
       accounts (“SMAs”). SMAs were accounts where the assets were legally owned
       directly by the client-investor, but were managed by me as the portfolio manager
       under a service agreement and power of attorney. I was instrumental in drafting
       and implementing the due diligence procedures for selecting and managing the
       assets, and the investment process for managing the assets, including the process
       for defining relevant expenses, and allocating those expenses to the portfolios.

 4.    I started an asset management company in 2003, and following its merger in
       2006, I was Chief Investment Officer at Weston Capital, a private wealth
       management firm, where I was responsible for investing and managing investor
       funds in excess of $2 billion, across multiple asset classes. There were six hedge
       fund products, and two private equity fund products. While there, I drafted the
       investment process and procedures manuals, implemented checks and balances,
       and documented risk policies and procedures around the investment products.

 5.    I am currently a Partner at RoundTable Financial Group, consulting to asset
       managers and investment clients. I maintain my securities licenses with the
       United States Securities and Exchange Commission and the Financial Industry
       Regulatory Authority (“FINRA”).

 6.    In the capacities described above, I have held strategic management positions at
       large, global, financial institutions where I created and implemented investment
       strategies, guidelines, processes, and procedures, often in tandem with
       management, legal counsel, the compliance officer, and risk manager. We
       developed such procedures to ensure proper checks and balances and to safeguard
       clients’ investments. I am familiar with the duties and responsibilities of an


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              investment manager to act as a fiduciary and to adhere to compliance policies,
              governing documentation, investment management agreements, service level
              agreements, and securities regulations.

        7.    As an experienced investment manager, I accepted investment capital from U.S.
              and international investors, and then invested that same capital in more than four
              hundred private companies, private credit funds, private equity funds, or hedge
              funds.

        8.    Throughout the fund management process, various expenses were incurred by my
              portfolio management team and me. Such expenses related to research and due
              diligence work completed when analyzing the prospective investments. Examples
              of these expenses included securities databases, certain data technologies, travel
              costs (including transportation, accommodation, and meals), and to some extent
              entertainment. Expense policies were defined by the firm. Since I was responsible
              for establishing many of the policies and procedures, I wrote, edited, and
              approved many of them.

        9.    My roles at Credit Suisse, UBS, and Weston Capital were similar to the
              management and fiduciary roles held by Rashid at Apollo. I have been an
              investment manager and have managed multiple private investments. I was
              responsible for investment priorities, due diligence, research, and related
              investment work. I worked closely with our cash managers, our chief financial
              officer, and treasurer in relation to all cash functions. In these roles, I have had
              experience budgeting both revenues and expenses, allocating investor money,
              managing investments, liquidating investments, and returning investor capital.

III.    ASSUMPTIONS AND MATERIALS REVIEWED

        10.   I have been asked to assume that the facts alleged in the SEC’s Complaint in this
              case are true. My opinions might change if those facts are shown to be untrue. I
              have also been provided with record material which supports the conclusion that a
              reasonable employee, like someone in Rashid’s position, knew or should have
              known that Apollo would ultimately pass his expenses on to the Relevant Funds.
              These documents were identified previously during the discovery phase and were

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                 marked with Bates numbers. I have also reviewed examples of standard process
                 and procedures from respected firms in the investment advisory industry.

        11.      A complete list of documents I reviewed and considered in preparing this report is
                 attached as Exhibit B. If I receive additional documents or information, I will
                 modify or supplement my report as necessary to reflect such additional data.

IV.     INDUSTRY STANDARDS

        12.      Rashid was employed as an investment adviser by Apollo. Apollo established a
                 clear set of policies to educate its employees about their fiduciary responsibilities.
                 Apollo’s policies were consistent with industry standards. As an employee of
                 Apollo, itself a fiduciary, Rashid was entrusted with the appropriate financial care
                 of the firm’s assets and was therefore obligated to act in the firm’s best interests,
                 in the best interests of its investors, maintain a high standard of care, and never
                 put his own interests ahead of those of Apollo or its clients.

        13.      Section 206 of the Advisers Act of 1940 states those prohibited transactions by
                 investment advisers. As an investment adviser, and as a partner at Apollo, Rashid
                 was therefore subject to Section 206 which made it “unlawful for any investment
                 adviser … (1) to employ any device, scheme, or artifice to defraud any client,” or
                 “(2) to engage in any transaction, practice, or course of business which operates
                 as a fraud or deceit upon any client.1”

        14.      Fiduciaries are defined as those persons entrusted with the financial care of
                 another person’s money. They have obligations to always: (a) act in the best
                 interests of their clients, and uphold the highest standards of care; (b) maintain a
                 duty of loyalty to the client, such that the fiduciary’s personal and business
                 interests are never put ahead of those of his clients, and (c) always act in good
                 faith.




1
  Investment Advisers Act of 1940, Statute Section 206 – Prohibited Transactions by Investment Advisers,
https://40act.com/laws-rules/investment-advisers-act-of-1940-statute/section-206-prohibited-transactions-by-
investment-advisers/.


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        15.     Firms like Apollo manage large amounts of money for some of the largest U.S.
                firms and pension funds. Pension funds, in particular, are sensitive to, and very
                concerned about expenses, since their clients are older, tend to be on fixed
                incomes, and are generally concerned about financial controls, and expense
                allocations. Pension funds put their investment money with larger firms like
                Apollo in the belief that they will have sufficient financial and expense controls in
                place, adhere to best practices in the industry, and maintain high fiduciary
                standards.

        16.     Apollo belongs to, and participates in various organizations from which it gathers
                information about industry standards. These are industry standards applicable to
                the private equity markets, the area in which Rashid worked, and many of
                Apollo’s advisers are employed.

        17.     For example, Apollo has been a long-standing member of the industry’s
                international organization for private equity managers called the Institutional
                Limited Partners Association (“ILPA”).2 By way of its ILPA membership, Apollo
                endorses its policies.

        18.     The ILPA has written the Private Equity Principles:

                     …a document that contains best practices concepts and that speaks to the
                     issues relating to the alignment of interest between general partners and
                     limited partners [investors], fund governance, and transparency and
                     reporting. It is intended to serve as a common framework …with the goal
                     of improving the private equity industry…. Endorsement of these
                     Principles is an indication of general support for the ILPA.3

        19.     The ILPA supports and recommends expense recognition guidelines developed by
                both the Internal Revenue Services (“IRS”) and the Association of International
                Certified Public Accountants (“AICPA”). The IRS regularly defines what types of
                reimbursable expenses are acceptable from the tax perspective. Following IRS




2
  ILPA Private Equity Principles Endorsements, December 9, 2011; November 21, 2012; September 12, 2013,
Complete list of organizations that have endorsed the ILPA Private Equity Principles.
3
  Ibid.


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                 guidelines, the AICPA outlines a simple recommendation for employee expense
                 reimbursement. There are generally five steps to follow:

                      a.   Form a policy for the expense reimbursement process,
                      b.   Determine what expenses employees can claim,
                      c.   Create a system for collecting expense claims,
                      d.   Verify the legitimacy of the expenses, and
                      e.   Make reimbursement payments within a specified timeframe.

                 Apollo’s T&E process mimicked these steps – there was a clear policy for
                 expense reimbursement, the types of permissible business expenses were defined,
                 there was an expense claims process which was verified, and when signed off,
                 reimbursements were made.
        20.      Apollo is a member of another business organization called AIMA, the
                 Alternative Investment Management Association Limited. Its Guides to Sound
                 Practices are “aligned with policy makers, legislators, and regulatory authorities
                 around the world.4” Their Guide’s commentary on expense reimbursement and
                 allocation is consistent with that of the ILPA.

        21.      The Standards Board for Alternative Investments (“SBAI”) is a global
                 organization which sets out guidance for investment managers, including private
                 equity fund managers. It brings managers and investors together to establish
                 responsible standards of practice that meet investor requirements. It defines best
                 standard practices in its document, The Alternative Investment Standards. The
                 Standards and Guidance [2] clause5 discusses the commercial terms applicable to
                 fees and expenses, and stresses that the details and nature of any expenses should
                 be effectively monitored and accurately disclosed.

        22.      In a letter endorsed by more than 400 ILPA members, and sent to the United
                 States Secretary of the Treasury6, the ILPA’s Managing Director, Jennifer Choi
                 wrote about issues where the United States financial system needed support. In
                 the letter, she described how “there may be impropriety and insufficient
4
  AIMA’s Objectives and Principles, www.aima.org, Advocate, Guides to Sound Practices.
5
  Standards Board for Alternative Investments, The Alternative Investment Standards, Section 2.1, p. 5, Commercial
terms disclosure, https://www.sbai.org/standards/summary-of-standards/, November, 2015.
6
  Letter from Jennifer Choi, Managing Director, ILPA to The Honorable Steven Mnuchin, July 28, 2017.


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                 disclosure of fee and expense allocations” in private equity funds, and that
                 investors’ ability “to discern questionable practices [is] limited.” She quotes a
                 statement made by Andrew Ceresney, Director, U.S. Securities and Exchange
                 Commission, Division of Enforcement, saying “even experienced investors can be
                 defrauded if they lack transparency into the various fees, expenses and practices7”
                 in the private equity fund industry. ILPA members like Apollo, support
                 transparency and controls over fees and clarity in the allocation process so that
                 investors can be properly protected and informed.

        23.      Apollo’s policies are consistent with other industry oversight agencies, accounting
                 and audit firms, and specialists in expense management. Apollo is consistent in
                 their views of expense reimbursement and allocation procedures. Apollo employs
                 many Chartered Financial Analysts. Their industry overseer, the CFA Institute of
                 Chartered Financial Analysts, maintains a code of ethics which states that its
                 members will “[p]lace the integrity of the investment profession and the interests
                 of clients above [one’s] own personal interests.8”

        24.      The CFA Institute adheres to its Global Investment Performance Standards
                 (“GIPS”), voluntary standards used by investment managers in the asset
                 management world. GIPS recordkeeping guidelines and information maintenance
                 is an important part of sustaining the integrity of the asset valuation methodology.
                 GIPS standards state that there need to be sufficient procedures in place to ensure
                 there is adequate supporting documentation to accurately reflect expenses, the
                 methods used to record those expenses, including management fees, and that
                 expenses are appropriately treated when calculating performance returns. Those
                 procedures state that expenses are to be allocated and recorded to the proper fund,
                 in the correct amounts, and on a timely basis.9

        25.      Certified public accounting firms like Deloitte & Touche LLP (Apollo’s
                 accounting firm), follow procedures and guidelines consistent with those upheld

7
  Andrew Ceresney, Director, Division of Enforcement, U.S. Securities and Exchange Commission, “Private Equity
Enforcement,” Securities Enforcement Forum West 2016, San Francisco, May 12, 2016.
8
  CFA Institute of Chartered Financial Analysts, https://www.cfainstitute.org, Code of Ethics.
9
  2012 CFA Institute, GIPS Guidance Statement of Performance, 16 March 2012, p. 6.


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                by all certified public accountants (“CPAs”). CPAs are trusted financial advisers
                who maintain the highest standards of knowledge and ethics when operating in
                financial capacities. They follow Internal Revenue Service (“IRS”) and
                Department of Labor (“DOL”) guidelines. Accounting firms look to see whether
                the expense reimbursement process compliant with IRS and DOL guidelines, and
                is structured as an accountable plan10 which exists when the following conditions
                are met:

                    a. There is a business reason for the expense and the expense is in
                       connection with the performance of services as an employee.
                    b. The expense is substantiated or deemed substantiated. There must be
                       receipts and invoices that document the nature and amount of the
                       expenditure.
        26.     The private equity industry often uses expense management specialists to create
                the process and format for expense reimbursement, and travel and entertainment
                policies. Firms like Abacus Labs, Inc., provides expense reporting applications.
                Chrome River Technologies, Inc., offers expense management software. SAP
                Concur delivers global expense reporting solutions, like that which the Gates
                Foundation uses for its expense reimbursement policies. Each of these entities
                follows a similar, compliant format, consistent with the accountable plan format
                described above.

        27.     The fund management industry and Apollo describe the standards of care they
                presume investment advisers to realize. Maintaining proper standards of care is
                not a complicated or difficult task. Most of Apollo’s investment advisers have
                earned advanced degrees in education, and have excelled in business and finance.
                To become a partner, and even a senior partner within a firm like Apollo, it is
                incumbent upon that adviser to act as a role model, act professionally, and be a
                trusted fiduciary when managing investor money, consistent with all professional
                firms in the private equity industry.



10
  Prange, Margaret, CPA, C-Bulletin Issue 03 02-15, Calibre CPA Group, PLLC, Is Your Expense Reimbursement
Policy Compliant with IRS and DOL Guidelines?


                                                    10
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          28.     Apollo asks its advisers to follow its Employee Handbook, adhere to their Code of
                  Ethics, and observe the rules specified in the Travel & Expense Policy. Each of
                  these documents contains the employee’s signature.

          29.     The industry gives firms like Apollo guidance in the form of communal
                  information. Apollo is a member of the Institutional Limited Partners Association
                  and the Alternative Investment Management Association Limited. These are
                  national and somewhat global organizations which set market standards and
                  disseminate best practices and policies. Other entities, like the IRS, the Standards
                  Board for Alternative Investments, and the Association of International Certified
                  Public Accountants provide guidance at the most fundamental levels. Their
                  standards cut across many investment industries, but have direct applications to
                  the area of expense reimbursement and allocations

V.        FACTUAL BACKGROUND AND BASES FOR OPINIONS

     A.         APOLLO’S CODE OF ETHICS

          30.     Apollo established its Code of Ethics11 in order to make clear, and educate its
                  investment advisers about integrity, morality, principles of good conduct, and the
                  difference between right and wrong when dealing with its clients’ money.

          31.     Apollo’s employees officially acknowledged reading and understanding this code
                  by signature. The code was provided and updated on a regular basis, sometimes
                  more frequently than once per calendar year. Apollo’s Employee Handbook,
                  which each employee receives, acknowledges, and annually signs, refers directly
                  to the code. “Employees must read and be familiar with the Code of Ethics.12”

          32.     Apollo’s Code of Ethics existed throughout Rashid’s employment. He “admits
                  that he was aware of general internal ethical provisions being formalized” in the




11
   Apollo Code of Ethics, February 2010, APOLLO 00001762, and April 2011, APOLLO 00001861, and November
2011, APOLLO 00001962, and December 2012, APOLLO 00002059.
12
   Apollo Employee Handbook, May 7, 2011, January 1, 2012, and 2013, Compliance with Laws and Regulations, p.
38, APOLLO 00002732.


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                 guise of Apollo’s Code of Ethics, and further “admits that he was aware of
                 general ethical principles.13”

        33.      Standards of business and personal conduct are described therein. Apollo
                 expected its employees to be mindful of the firm’s fiduciary responsibilities. It
                 expected its employees to adhere to the highest standards of legal and ethical
                 behavior in their personal conduct and in their dealings inside and outside the
                 firm.14

        34.      Apollo’s Code of Ethics acknowledged that its investment advisers “act as
                 fiduciaries and thus owe a series of duties to [the] funds and their investors,
                 including a general duty to act at all times in their best interest.15”

        35.      Likewise, Apollo is registered with the SEC as an investment adviser, and as
                 such, it requires that its employees “must comply with the requirements set forth
                 in the Investment Advisers Act of 1940, as amended (the “Advisers Act”), and the
                 rules and regulations promulgated thereunder.” Apollo’s Code of Ethics was
                 adopted in compliance with Rule 204A-1 under the Advisers Act and was
                 designed to “set forth the relevant requirements” to be followed “as fiduciaries
                 and registered investment advisers.16”

        36.      For compliance purposes, Apollo’s Code of Ethics was presented to all
                 investment managers and was signed off by each employee. Rashid was employed
                 as an investment manager during the period of time when the 2010, 2011, 2012,
                 and 2013 Codes of Ethics were published.

        37.      Rashid regularly signed the Code of Ethics Compliance Survey,17 which
                 contained personal, detailed statements, such as:

                     a. “I have at all times complied with the Code of Ethics.18”

13
   Defendant Mohammed Ali Rashid’s Responses and Objections to Plaintiff Securities and Exchange
Commission’s First Set of Requests for Admission, Section A. Employment with Apollo, para 66 and 67, p. 16.
14
   Apollo Code of Ethics, February 2010, Standard of Business and Personal Conduct, p. 5, APOLLO 00001772.
15
   Apollo Code of Ethics, February 2010, Section 2, Administration of the Code of Ethics, p. 2, APOLLO 00001769.
16
   Ibid.
17
   Acknowledgment to the Annual Compliance Survey and Holdings Report, p. 12, APOLLO 00041635, and p. 3,
APOLLO 00041617.


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                     b. “I have used firm assets only for the conduct of the firm’s business, except
                          for incidental personal use authorized by the Code of Ethics or other
                          applicable policies.19”

                     c. “At all times, I followed the firm’s internal controls, record retention, and
                          reporting requirements, set forth in the Code of Ethics.20”

                 Rashid’s signature, against these personal statements, implies that he understood
                 and agreed to the various requirements, and that he would adhere to them during
                 his employment.

        38.      Apollo’s Code of Ethics warned against breach of procedures throughout the
                 document. The section on Internal Controls, Record Retention, and Reporting
                 stated the following:

                     The falsification of any book, record, or account relating to the business of
                     Apollo, [or] its clients …(including without limitation, the submission of
                     any false personal expense statement, claim for reimbursement of a non-
                     business expense, or a false record or claim under the employee benefit
                     plan) is prohibited.21

                 Rashid signed off on this statement on a regular basis. In his deposition, Rashid
                 spoke of this clause, saying, “I understood it in general terms.22”

        39.      If it was not already intuitive, Apollo’s Code of Ethics made evident that it
                 specifically “prohibits the submission of false or misleading records (e.g.
                 misstating the number of guests at a business dinner in an employee expense
                 report, or attaching a fictitious receipt to support an expense report).23” It goes on
                 to warn that “[any] employee who creates or causes the creation of a false or
                 misleading record or accounting entry …will be subject to disciplinary action.24”

18
   Compliance Survey, p. 1, APOLLO 00041624, and p. 2, APOLLO 00041637, and p. 1, APOLLO 00041615.
19
   Compliance Survey, p. 2, APOLLO 00041625, and p. 3, APOLLO 00041638, and APOLLO 00041615.
20
   Compliance Survey, p. 2, APOLLO 00041625, and Compliance Survey, p. 3, APOLLO 00041638, and
Compliance Survey, APOLLO 00041615.
21
   Apollo Code of Ethics 2010, p. 33, Internal Controls, Record Retention, and Reporting, Section 7.3, APOLLO
00001814.
22
   Volume I Videotaped Deposition of Mohammed Ali Rashid, March 19, 2019, p. 134, line 2.
23
   Apollo Code of Ethics 2010, p. 47, Accounting Provisions, Section 12.1.2, APOLLO 00001814.
24
   Apollo Code of Ethics 2010, p. 47, Accurate Records, Section 12.1.2.1, APOLLO 00001814.


                                                       13
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     B.         APOLLO’S EMPLOYEE HANDBOOK AND T&E POLICIES

          40.     Rashid had previously been employed by Goldman Sachs, a leader in the financial
                  industry. While there, he was educated and made aware of market standards,
                  policies and procedures, and best practices. He states in his deposition, “I had
                  come from Goldman Sachs where they had very strict [expense] policies and
                  procedures that I adhered to and abided by and never had any issues with.25”

          41.     Rashid was thus fully aware of industry standards regarding travel and expense
                  policies. If, however, a professional, corporate, business employee was
                  completely unaware of customary travel and expense reimbursement policies,
                  then such employee had those policies spelled out clearly in Apollo’s Employee
                  Handbook and its Travel & Expense Reimbursement Policies and Procedures.
                  While Rashid was employed by Apollo, he was subject to these policies.

          42.     Rashid admits he knew of the Employee Handbook, and “admits he had general
                  knowledge of the substance and content of Apollo’s Employee Handbook.26”
                  Furthermore, Rashid “admits that he was aware that Apollo had general T&E
                  Reimbursement policies” and that he had “general knowledge of the substance
                  and content of Apollo’s T&E policies.27” He admits he was ultimately
                  “responsible for any mistakes28” as well as the accuracy of the expense reports
                  submitted, saying during his deposition, “Ultimately, the employee was
                  responsible for the accuracy of what was described for the expense.29”

          43.     The Employee Handbook states that the Company “requires honest and accurate
                  recording and reporting of information.30” T&E policies were effective
                  throughout his employment, and certainly during the periods from January 2009,
                  to November 1, 2011, through 2013, these being the dates of the policies


25
   Volume I Videotaped Deposition of Mohammed Ali Rashid, March 19, 2019, p. 320, line 12.
26
   Defendant Mohammed Ali Rashid’s Responses and Objections to Plaintiff Securities and Exchange
Commission’s First Set of Requests for Admission, Section A. Employment with Apollo, para 64 and 65, p. 16.
27
   Ibid. para 53 and para 55, p. 13.
28
   Ibid, para 57, p. 14.
29
   Volume I Videotaped Deposition of Mohammed Ali Rashid, March 19, 2019, p. 376, line 24.
30
   Apollo Employee Handbook, May 7, 2011, January 1, 2012, and 2013, Accounting and Record Keeping, p. 39,
APOLLO 00002733.


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                 themselves. Although the policies were slightly amended over time, their basic
                 intentions remained the same.

        44.      In one section of the Code of Ethics, entitled “Restrictions on Reimbursements
                 and Use of Cash,” Apollo states it will only reimburse for “goods, services, or
                 other expenditures that are fully and properly supported by third-party invoices or
                 receipts in accordance with Apollo’s Travel & Expense Policy.31”

        45.      The January 2009 T&E guideline is succinct. The first sentence of the General
                 Policy reads, “Apollo will reimburse all Employees for necessary and reasonable
                 business and travel expenses incurred in the performance of their duties.32” The
                 Expense Reporting Guidance section states, “All Employees are required to
                 document and substantiate the following information on their respective employee
                 expense report:

                        Amount of the expense
                        Date and place incurred
                        Names and titles of others attending…
                        Business purpose of the expense”33

                 The amount of the expense, the date, and place where the expense occurred might
                 be somewhat easily identified from details provided on the credit card statement.
                 However, the names and titles of those attending the business event, and the
                 detailed business purpose for the expense is more likely to have been provided by
                 the person incurring the expense. It is difficult to believe that a third party, even
                 an assistant, would automatically know how to provide such details without the
                 credit card user supplying the relevant expense information directly.

        46.      Exhibit C of the January 2009 T&E Guideline, and Clause 9 of the November
                 2011 T&E Guideline describe T&E items which specifically are not reimbursable.
                 Those non-reimbursable items include barbers, spa charges, excessive or lavish

31
   Apollo Code of Ethics 2010, p. 48, Restrictions on Reimbursements and Use of Cash, Section 12.1.2.2, APOLLO
00001815.
32
   Apollo Global Management LLC, Travel & Expense Reimbursement Policy, January 2009, Introduction, p. 2,
APOLLO 00004578.
33
   Ibid, p. 4.


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                  entertainment, clothing, personal items, non-business travel and entertainment
                  expenses, standard commuting costs including taxis/private cars to/from the
                  office, and unexplained expenses.34 The exclusion list is not limited to these items
                  however.

          47.     Qualifying employees were provided with Apollo-sponsored American Express
                  (“AmEx”) credit cards, which the employees used for business expenses. Expense
                  reports were to be submitted in a timely manner, after the employee received the
                  credit card statement. It was made clear that “the employee is ultimately
                  responsible for timely and accurate submission of his/her expenses regardless who
                  prepares the expense report.35”

          48.     After expenses are incurred, and after the monthly billing receipt arrives from
                  American Express, an expense allocation process begins. Charges are uploaded
                  into the “PeopleSoft expense module” where charges are allocated to specific
                  expense categories. “The process is completed by the employee or a
                  representative authorized to fill out the expense report for the Apollo
                  employee.36” The employee, not the authorized representative, is responsible for
                  the expense details and the accuracy of the expense information upon
                  submission.37

     C.         APOLLO’S MANAGEMENT AGREEMENTS AND FUND OFFERING
                MATERIALS

          49.     Rashid held a high-ranking position as a senior partner at Apollo. Rashid and
                  others were responsible for investments in, and the management of five Apollo
                  funds including Apollo Investment Fund III, L.P., Apollo Investment Fund V,
                  L.P., Apollo Investment Fund VI, L.P., Apollo Investment Fund VII, L.P., and


34
   Ibid, p 15, and Apollo Global Management Travel & Expense Reimbursement Policies and Procedures,
November 1, 2011, p. 10, APOLLO 00004709.
35
   Apollo Global Management Travel & Expense Reimbursement Policies and Procedures, November 1, 2011, p. 3,
APOLLO 00004702.
36
   Apollo Global Management LLC, Travel & Expense Reimbursement Policy, January 2009, Corporate Credit Card
Procedures, p. 17, APOLLO 00004594.
37
   Apollo Global Management Travel & Expense Reimbursement Policies and Procedures, November 1, 2011, p. 3,
APOLLO 00004702


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                 Apollo Natural Resources Partners, L.P. Each of these funds was managed by a
                 management company (“Management Company”). The Management Company’s
                 responsibilities were defined in a management agreement. Each Management
                 Company “is an affiliate of Apollo Management, L.P., an investment adviser that
                 is registered under the Advisers Act.38” The Apollo Natural Resources Partners,
                 L.P., however, was managed by its affiliate, Apollo Commodities Management,
                 L.P.

        50.      Management agreements were in place with each of the funds Apollo advised.
                 These agreements allowed Apollo to charge fees and expenses to the funds
                 according to pre-defined and documented guidelines. The management
                 agreements dictated which fees were paid to Apollo for its services and which
                 expenses Apollo was entitled to recoup from the funds. Apollo was not entitled to
                 be reimbursed for its fund managers’ personal expenses.

        51.      Five funds are referenced above. The first four of these funds’ legal documents
                 (private placement memoranda) generally followed the same fee payment and
                 expense allocation criteria. Their management agreements also were similar. The
                 Management Company is responsible for managing all affairs and activities of the
                 fund, and “all of the investment advisory activities of the Management Company
                 are subject to the Advisers Act and the rules thereunder.39” The fifth fund, Apollo
                 Natural Resources Partners, L.P., was slightly different in that its Management
                 Company was a different legal entity because of the types of investments it made.

        52.      Rashid had personal investments as a limited partner in four of these funds. This
                 was an indication that management had aligned its interests with the other
                 investors in the funds, and show that “the people that were managing the
                 investments or recommending the investments [had] skin in the game.40” Those
                 funds included Apollo Investment Fund V, L.P., Apollo Investment Fund VI,
                 L.P., Apollo Investment Fund VII, L.P., and Apollo Natural Resources Partners,


38
   Apollo Investment Fund VII, L.P., Annex A, Section 6., p. A-2.
39
   Ibid.
40
   Volume II Videotaped Deposition of Mohammed Ali Rashid, March 20, 2019, p. 347, line 3.


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                 L.P. It would have been market convention for any investor, including an Apollo
                 employee, to complete a Subscription Agreement, sign it, and by doing so,
                 acknowledge understanding of the contents of such documentation.

        53.      Like any investor and limited partner, Rashid had access to the legal documents
                 relating to each fund in which he had an investment. In the private placement
                 memoranda, there is a description of the way in which expenses were allocated to
                 the funds by Apollo, the Management Company.

        54.      The management agreements state that the Management Company shall bear the
                 costs and expenses of “developing, negotiating and structuring” the fund’s
                 portfolio, “including without limitation any travel, staff, overhead, and legal and
                 accounting expenses in connection therewith,41” including administrative
                 expenses like office space, supplies, and the facilities. The Management Company
                 was not responsible for its fund managers’ personal expenses.

        55.      The funds were responsible for organizational and operating expenses such as
                 those “pertaining to the offering and sale of limited partner interests,” as well as
                 “legal payments and travel expenses.42” The Apollo Natural Resources Partners,
                 L.P. fund was additionally responsible for costs and expenses incurred for
                 “operations, and the acquisition, ownership and maintenance of investments,43”
                 including the costs for purchasing the companies for the fund. The funds and the
                 funds’ investors were not responsible for general administration, staff, and
                 portfolio management costs and expenses. The funds were not responsible for its
                 fund managers’ personal expenses.

        56.      In exchange for their services, each Management Company was paid a
                 management fee. Depending on the fund, these fees were based on the capital
                 amounts committed by the investors, and the assets under management. The fees



41
   Ibid, Article VII, Expenses and Management Fee, Section 7.1, Administrative Expenses, p. 71.
42
   Apollo Investment Fund VII, L.P., Article VII, Expenses and Management Fee, Section 7.2, Organizational and
Operating Expenses, p. 71.
43
   Apollo Natural Resources Partners, L.P., Summary of Fund Terms, Section Operating Expenses, p. 79, APOLLO
00049750.


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             ranged from 1.5% to 0.65% depending on the amount of capital that had been
             spent, the length of time the capital was invested, and the total value of the assets.

     57.     The funds’ offering materials and management agreements were clear about the
             expenses that either the Management Companies or the funds would bear. As an
             investor, and a senior partner of Apollo, Rashid had access to this information.
             The Management Companies were being paid a management fee for managing
             the assets as an investment adviser under the Advisers Act, and expected its fund
             managers to abide by the Act’s guidelines. Nowhere in the offering materials or in
             the management agreements was a fund manager permitted to allocate personal
             expenses to a fund.

D.         RASHID’S SUBMISSION OF PERSONAL EXPENSES AS LEGITIMATE
           BUSINESS EXPENSES

     58.     During the Relevant Period, Rashid was engaged in the business of advising
             private equity funds managed by Apollo affiliates. The SEC alleges that Rashid
             defrauded his investment clients and breached his fiduciary duties to the Relevant
             Funds by effectively using their funds to cover his personal expenses.

     59.     According to the SEC’s Complaint, Rashid charged personal entertainment,
             meals, hotels, transportation, clothing, and other personal items to his Apollo
             credit card. Expenses on the Apollo credit card were presumed to be one hundred
             percent business-related. Personal expenses were not generally permitted. If
             personal expenses were charged, and were not properly identified as such, those
             expenses could be deemed to represent legitimate business expenses incurred in
             managing portfolio companies or in conducting other activity on behalf of Apollo
             itself. Each business expense description was ultimately the credit card holder’s
             responsibility.

     60.     In November 2010, Rashid was accused of characterizing many of his personal
             expenses as business related expenses, and ultimately gave Apollo a personal




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                 check for $7,828.86 as reimbursement.44 Again, in 2012, Rashid was accused of
                 the same, inappropriate characterization of personal expenses as business related
                 expenses, and a personal check for $7,072.36 was paid to Apollo as
                 reimbursement.45

        61.      Rashid’s expense reports were prepared by his personal assistants under his
                 direction. Rashid has asserted that he did not provide descriptions of the expenses
                 and never reviewed his expense reports before they were submitted into Apollo’s
                 computerized travel and entertainment (“T&E”) system known as “PeopleSoft.”
                 Although I am not in a position to make any assessment as to the reliability of
                 Rashid’s assertions, based on my experience in the industry, it would seem
                 unlikely that Rashid’s assistants would know how to accurately attribute hundreds
                 of expense items without guidance from Rashid.

        62.      Rashid has admitted that he was ultimately responsible for the accuracy of the
                 expense reports, and for the descriptions of the expenses. Many of the expense
                 descriptions provided specific supposed business-related activities and/or
                 identified specific portfolio company executives Rashid claimed were involved in
                 the expense-related activity. Depending on the description and classification of a
                 particular expense, Apollo would allocate it to one of the Relevant Funds, or to an
                 Apollo-related management company, or to some other cost center.

        63.      Before being placed on leave in July 2013, Rashid breached Apollo policies and
                 procedures. Hundreds of Rashid’s personal expense items were submitted for
                 reimbursement and then allocated to the Relevant Funds as legitimate business-
                 related expenses. Rashid was responsible for what was submitted on his expense
                 reports, even though he had relegated the process for completing those forms to
                 his assistants. His expense reports named people with whom he supposedly ate,

44
   Defendant Mohammed Ali Rashid’s Responses and Objections to Plaintiff Securities and Exchange
Commission’s First Set of Requests for Admission, Section J. Repayment for Charges of Personal Expense Items,
para 475 to 477, p. 133 and Volume I Videotaped Deposition of Mohammed Ali Rashid, March 19, 2019, p. 118,
line 23.
45
   Defendant Mohammed Ali Rashid’s Responses and Objections to Plaintiff Securities and Exchange
Commission’s First Set of Requests for Admission, Section J. Repayment for Charges of Personal Expense Items,
para 478, p. 135 and Volume III Videotaped Deposition of Mohammed Ali Rashid, March 21, 2019, p. 681, line 19.


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               the recipients of gifts he purportedly gave, and the attendees at dinners he
               allegedly hosted.46 The names of these persons included their companies of
               employment (e.g. Realogy, QDI, or Metals), and occasionally the reasons for the
               event. The expenses from these events were then allocated by Apollo through its
               PeopleSoft expense allocation process to each relevant fund as if those expenses
               were legitimate, fund-related, business expenses. The funds ultimately bore those
               costs until later reimbursed by Apollo after it had uncovered Rashid’s misconduct.

       64.     Rashid used his corporate credit card for personal expenses, saying, “There were
               times, yes, sure.” “Pretty infrequently, I think.47” However, hundreds of personal
               expenses were incurred over the years. Whenever business expenses were
               incurred, a company name, a person’s name, and a reason for the expense had to
               be supplied. Rashid, either directly, or with his assistant allocated expenses to
               multiple persons and companies to cover up meals, entertainment, items of
               clothing, and transportation for what possibly seemed to be legitimate reasons.
               The reasons, times, dates, names of people, and places were often a smoke screen
               to hide his scheme.

       65.     Many of the persons, places, and reasons for the purported business expenses
               were investigated. Sworn declarations by the supposed participants have been
               provided. These people are industry leaders of publicly traded companies, and
               large private businesses. They are Chairmen of the Board, Chief Executive
               Officers, Presidents, Chief Financial Officers, Chief Operating Officers,
               Corporate Controllers, Chief Counsel, Head of Human Resources, and Executive
               Advisors.

       66.     The names of these senior officers were included on Rashid’s expense reports as
               part of his scheme to cover up personal expenses as business related items. Below

46
   Expense Report Accounting Distributions, files APOLLO00004388, APOLLO00040732, APOLLO00040763,
APOLLO00040784, APOLLO00040799, APOLLO00040833, APOLLO00040845, APOLLO00040850,
specifically pages APOLLO00040855 to APOLLO00040856, APOLLO00040857, APOLLO00041241,
specifically pages APOLLO00041243 to APOLLO00041244, and APOLLO00041254 to APOLLO00041254,
and APOLLO00041285 to APOLLO00041286, and APOLLO00041493 to APOLLO00041494, and
APOLLO00041514 to APOLLO00041515, and APOLLO00041540 to APOLLO00041541.
47
   Volume I Videotaped Deposition of Mohammed Ali Rashid, March 19, 2019, p. 110, lines 14 and 17.


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          are excerpts from summaries of sworn responses given by some of those senior
          officers who were listed in Rashid’s expense reports. Exhibit C contains a more
          thorough summary of their responses and the responses of many others.

                                      Sworn Declarations
  Last Name   First Name   Dated      Numbered Sections from Summary Declarations                                       Bates
                                                                                                                        Number
  Koci        Keith        July 11,   4. I did not have dinner with Rashid on February 27, 2011 at Sky Bar in           SEC-
                           2018       Miami, Florida. 5. I did not have dinner with Rashid on March 12, 2011 at         SEC-E-
                                      …Mr. Chow Enterprises. I do not recall having been to a restaurant named          0000129
                                      Mr. Chow. 6. I did not have dinner with Rashid on March 12, 2011 at
                                      ...Lucky 13 Associates. ...I was not in New York City in March 2012. 7.
                                      ...I did not have dinner with Rashid on April 28, 2012 at ...Superior
                                      Restaurant NYC. ...I was not in New York City in April 2012. 8. ...I did not
                                      have dinner with Rashid on November 22, 2012 at the Bal Harbour Hotel.
                                      9. ...I did not have dinner with Rashid on May 15, 2011 at The Griffin. ...I
                                      was not in New York City in May 2011. 10. ...I did not attend a meal with
                                      Rashid on January 22, 2012 at Louis Bar and Lounge. 11. ...I did not
                                      receive a Zegna tie from Rashid in April 2012.
  Enzor       Gary         June 26,   8. On February 3, 2013, Rashid brought a woman to the event; but in               SEC-
                           2018       my view, this … would not have justified Rashid treating his airfare,             SEC-E-
                                      lodging, or other travel expenses that weekend as … business                      0000146
                                      expenses. 10. From 2010 through 2013 ...I never had dinner alone with
                                      Rashid. 13. I do not recall Rashid ever paying for a dinner that I
                                      attended.14. I did not have dinner with Rashid at Brother Jimmy's ...on
                                      Saturday, April 3, 2010. 15. I did not have dinner at the Cooper Square
                                      Hotel with Rashid ...on Friday April 9, 2010. I do not believe I have ever
                                      been [there]. 16. I did not have dinner with Rashid at Peter Luger ...on July
                                      28, 2010. I do not believe I have ever been [there]. 17. I did not have
                                      dinner with Rashid in New York City on Saturday, August 14, 2010. I was in
                                      Bartow, Florida. 18. I did not have dinner with Rashid and other members
                                      of the QDI management team ...on October 20, 2010. ...I took a flight from
                                      Phoenix, Arizona to Tampa, Florida that day. 19. I did not have drinks with
                                      Rashid ...on October 22, 2010. ...I was in Clearwater, Florida.

  Troy        Joseph       June 22,   9. I do no recall Rashid ever paying for a meal that I attended. 10. …I           SEC-
                           2018       did not have dinner with Rashid at Sushi You in New York City on October          SEC-E-
                                      20, 2010. 11. …I did not have dinner or drinks with Rashid …on Friday,            0000018
                                      October 22, 2010. 12. … I did not have dinner with Rashid ...on
                                      Saturday, February 26, 2011. I had a business meeting in Tampa, Florida
                                      on ... February 26, 2011. 13. ....I did not have dinner with Rashid in New
                                      York City on June 21, 2011. ...I traveled from Tampa, Florida, to Maine on
                                      June 21, 2011, on a personal trip. 14. ...I did not have dinner with Rashid
                                      ...on September 1, 2011. ...I was [not] in New York that day. ...I had a
                                      postoperative doctor's appointment in Tampa, Florida on September 1,
                                      2011. 15. ...I did not have dinner with Rashid ...on Saturday, April 21,
                                      2012. ...I was in Tampa. 16. ...I did not have dinner with Rashid, John
                                      Wilson, and Jonathan Gold ...on Sunday, October 28, 2012. Moreover,
                                      Jonathan Gold ...left QDI in or about July 2012. 17. ...I did not have dinner
                                      with Rashid, Thomas Finkbiner, Bo Leslie, Jonathan Gold, and other QDI
                                      members at The Lion on February 14, 2013. Moreover, Thomas
                                      Finkbiner, Bo Leslie, and Jonathan Gold were not employees of QDI
                                      in February 2013. 18. I do not recall receiving ties, shirts, electronics, gift
                                      cards, or any other gifts from Rashid.




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         Swift       Alicia      May 24,   4. …I did not have dinner with Rashid …in New York City at a Portuguese   SEC-
                                 2018      restaurant called Aldea on March 2, 2011. I have never been to Aldea in   SEC-E-
                                           New York City. 5. I have never received items of clothing, electronics,   0000042
                                           Bliss spa gift cards, or any other gifts from Rashid. 6. I have never
                                           received a baby gift of any kind from Rashid.


        67.      It’s surprising that many of Rashid’s expenses were incurred either on weekends,
                 or on actual holidays, or while he was in a vacation spot. Though possible, the
                 multiple expenses that were incurred seem unlikely to have all been for business
                 related activities since Saturdays, Sundays, and holidays tend to not be work days
                 for most. The hypothetical attendees who participated on these days were
                 sometimes people who didn’t work at the firms (or hadn’t worked there for a long
                 time). Meetings were supposedly held with people the other attendees actually
                 never met. Business dinners were theoretically held at restaurants the alleged
                 attendees had never heard of, on days when they were in completely different
                 cities, and at times that conflicted with their other clear commitments. People,
                 who were supposedly given gifts, never received them.

        68.      Throughout this process, Rashid breached many of the policies defined in
                 Apollo’s Employee Handbook, Code of Ethics, and T&E Guidelines.

        69.      Following a forensic accounting review by the audit and accounting firm BDO
                 USA, LLP, (“BDO”) in the summer of 2013, BDO concluded “$315,320.99 [of
                 Rashid’s expenses during the period in question] were reclassified as personal. Of
                 those adjustments, more than [$] 220,000 were initially identified by Rashid
                 himself.48” According to the SEC’s Complaint, “Rashid admitted that over
                 $220,000 in business expenses he charged …were, in fact, his personal expenses.”
                 “The $220,000 in personal charges was in addition to the … [$7,828.86 and
                 $7,072.36] in personal expenses that Rashid had charged to the Relevant Funds
                 and paid back to Apollo in 2010 and 2012.49”




48
  Volume III Videotaped Deposition of Mohammed Ali Rashid, March 21, 2019, p. 781, line 24.
49
  No. 17-cv-8223 Complaint, Securities and Exchange Commission v. Mohammed Ali Rashid, October 25, 2017, p.
20, para 81.


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        70.     In 2013, Rashid repaid approximately $290,000 for personal expenses that he had
                charged on his Apollo American Express card.50 Presumably, this was the total
                amount of personal expenses that he had designated as business expenses, plus
                additional charges. Many of those presumed business expenses already had been
                allocated to the Relevant Funds as if they were legitimate business expenses.
                Approximately $220,000 of those expenses had been independently and
                unambiguously identified by Rashid.

        71.     All told, Rashid reimbursed Apollo three times for personal expenses he had
                submitted as if they were legitimate business expenses. Rashid’s total repayment
                amounts to Apollo equaled a very large sum of money, an amount in excess of
                $300,000.

VI.     EXPERT OPINIONS

        72.     In summary, my opinions are as follows:

                A.      During the Relevant Period, Rashid’s submission of numerous personal
                expenses to Apollo for reimbursement, allegedly as legitimate business expenses,
                contravened the norms and best business practices that were well-accepted by
                financial firms and those in the investment advisory industry. Such customs and
                practices applied to all principals and employees. Investment advisers (and certain
                employees of investment advisers) are fiduciaries that must place their clients’
                interests above their own interests. Apollo is an investment adviser; Rashid was
                employed by Apollo and was required to adhere to investment adviser guidelines.
                As fiduciaries, investment advisers also owe their clients a duty of honesty. These
                bedrock customs and practices are derived not only from established legal
                standards but also from recognition in best practices, codes of ethics, and
                company policies and procedures in the financial industry. Rashid violated these
                customs and practices by misrepresenting a significant amount of personal
                expenses as legitimate business expenses, when a reasonable employee should
                have known that some of those personal expenses ultimately would be allocated
50
  . No. 17-cv-8223 Complaint, Securities and Exchange Commission v. Mohammed Ali Rashid, October 25, 2017,
p. 20, para 83.


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       either to portfolio companies that he helped manage, or to private equity funds
       that he helped to advise.

       B.     A reasonable employee in Rashid’s position should have known that
       expenses which he placed on his business credit card and represented to have
       been incurred on behalf of private equity funds and/or portfolio companies in
       which such funds had an investment interest ultimately would be submitted to the
       Relevant Funds as reimbursable management expenses. Rashid had worked for
       another financial firm previously, Goldman Sachs. Rashid had experience with
       the business expense reimbursement process, as Goldman Sachs had strict
       expense policies and procedures. Rashid was also a senior Apollo partner who
       was a direct owner of the funds as a limited partner. He had access to the funds’
       legal documents and should have, or could have known that the funds, on whose
       behalf he claimed to have incurred various expenses, ultimately would bear the
       costs. During the Relevant Period, it was standard practice for private equity fund
       managers to be reimbursed for expenses that their partners and employees
       incurred on a fund’s behalf. Apollo had management agreements in place with
       each of the funds it advised and those management agreements followed that
       standard practice. Rashid certainly should have known this basic fact as an
       investment professional and as an Apollo senior partner. For all these reasons,
       Rashid should have known that the funds, on whose behalf he claimed to have
       incurred various expenses, ultimately would bear those costs.

       C.      The private equity funds that Rashid advised would want to know about
       Rashid’s conduct. Indeed, any fund or fund investor would deem it important to
       know if an employee of the fund manager was misappropriating money directly or
       indirectly, regardless of the amount in relation to assets under management. Any
       misappropriation of funds would be a red flag. Misappropriations could also raise
       serious questions about the manager’s integrity and trustworthiness in general.
       Moreover, institutional investors like pension funds, that invest in private equity
       funds, owe fiduciary duties to their own investors. Such investors would also
       deem the misappropriation of assets by a fund manager to be important. Apollo,
       which organized, managed, and controlled the Relevant Funds, deemed Rashid’s

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              misconduct to be significant and harmful, as exemplified by its decision to
              terminate his employment, notwithstanding his past performance, or his potential
              to make money for the firm in the future.




Matthew T. Hoffman


____________________
Signature

Date: April 15, 2019




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                                                    EXHIBIT A

                                          MATTHEW T. HOFFMAN

EXPERIENCE

02/09 – Present: ROUNDTABLE FINANCIAL GROUP, LLC

Partner, Financial Consultant and Investment Advisor. Manage a team of six professionals performing
investment advisory, financial negotiations, compliance, due diligence, investment banking, private placements, and
consulting services in corporate sales and acquisitions; specialist in hedge funds, private equity, real estate, and other
alternative investment products. Expert witness in 8 legal cases.

10/03 – 01/09: WESTON CAPITAL MANAGEMENT, LLC (via acquisition – pka Mayer & Hoffman
Capital Advisors, LLC)

CIO, Head of Portfolio Investments. Fiduciary with direct responsibility for $2.2bn in fund assets at peak, 80 fund
investments across 5 portfolios. Chairman of Investment Committee, member of Investment Oversight Committee
and New Product Committee, Director of private equity and seeding entities, Partners Funds I and II, investment
vehicles for hedge fund incubation.

Due diligence and research responsibilities on all equity, fixed income, foreign exchange and alternative
investments. Specialized in niche, non-correlating strategies and trading portfolios. Built 7-man research, risk
management and investment team across all hedge fund strategies including secured lending, distressed debt, equity
long short, emerging markets, event driven, fixed income arbitrage, global macro, managed futures, and volatility
arbitrage.

Strategically designed hedge fund investment portfolios for private buyers (minimum $100mm). Established and
monitored process and procedures, wrote working manuals and guidelines for future investments. Managed multiple
audits successfully.

Constructed portfolio with 12 separately managed accounts with $300mm in AUM for one client. Launched
portfolio of new and emerging managers. Enabled specialized risk management via full transparency into traditional
hedge fund investment portfolios. Sold ownership stake to partner.

07/00 – 10/03: CREDIT SUISSE (pka CS Financial Products, Ltd., Credit Suisse Asset Management)

Group Manager, Fund Investment Group. Investment Committee Member. Created and managed hedge fund
portfolios and related products for institutional customers and proprietary positions. Performed due diligence and
monitored process and procedures. $8.0bn in hedge fund exposure with 200+ hedge fund managers, of which $2.5bn
was under direct control. 8 direct reports plus 2 additional support staff.

Identified new hedge fund managers, interviewed decision makers, allocated money, established managed accounts,
negotiated side letters, created new investment vehicles, monitored operations process, employed derivative
techniques for capital protection. Executed both call option and total return swap trades on hedge funds.

Selected managers with appropriate risk criteria across multiple strategies including event driven, distressed, fixed
income arbitrage, global macro, managed futures, and convertible bond arbitrage. Lesser focus on equity long/short
and market neutral.

Chairman of Commodity Pool Operator (CPO) for use in managing US-based fund of funds business. Oversaw all
CFTC and NFA filings. Responsible for administration and audit of onshore products.




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04/91 - 07/00: UBS LLC (via acquisitions - pka O’Connor Partners, Swiss Bank Corporation AG,)

Executive Director, Trading Management, Stamford, CT (01/98 – 07/00). Senior trader, built stable platform
upon which business could expand profitably. Assisted in merger processes, both Dillon Read and Union Bank of
Switzerland. Supported growth of Prime Brokerage business and Alternative Asset Management businesses.

Executive Director, Hedge Fund and Structured Product Trading Europe, Equity Derivatives, London (04/91
- 12/97) Hedge fund trading and business development, PERLES product innovator, sales-trading manager:
Expanded derivatives trading and sales operation, warrants product developer, successful multi-product launches,
developed new electronic pricing methods, created new structured products, implemented changes to policies and
procedures. Managed the finances, designed client reports, headed up technology projects and internet business
initiatives.

06/89 - 04/91: MERRILL LYNCH INTERNATIONAL

Director, London. Capital Markets Group. Derivatives trader within Interest Rate / Currency Risk Management
Group. Priced, structured, originated and marketed interest rate and currency hedging products. Worked with
portfolio managers to construct risk averse, or more risk tolerant positions. Promoted interest rate, currency and
equity swaps.

09/82 - 06/89: JPMORGAN CHASE & CO.

Director, Hong Kong (01/85-06/89). Head of Interest Rate and Currency Derivatives and Risk Management Group.
Asia-wide responsibility for risk management products, sales and trading, including futures, swaps, options, caps,
floors and FRAs.

Director, Tokyo (02/84-01/85). Swaps Group. Started trading operation for interest rate and currency derivatives
and risk management products. Hired traders and marketers and set up shop. Associate (9/82-2/84), NY, Capital
Markets Group. Worked on Puerto Rican and Mexican FX related businesses and on private placement proposals
and transactions.

EDUCATION
University of Chicago, MBA Finance, 1982.
Denison University, BA Mathematics / Economics, Biology, 1978.

CITIZENSHIP
American and English, dual citizenship with valid, permanent EEC residency and working status.

OTHER
Registered broker, member FINRA, SIPC, Series 7, 63, and 79 valid.

Expert witness for alternative investment projects. Reports, depositions, and testimony expertise.

Board memberships:
     Private equity, early-stage investment fund ($300mm under management) 2006-2009, Head of fund
       investment committee.
     Hedge fund ($550mm under management) 1995-2000, Chairman of board for Dublin, Ireland-based, off-
       shore investment vehicles.
     Swiss bank pension fund ($1.4bn under management) 1992-1997, Chairman of pension fund Investment
       Committee 1995-1997.

Frequent lecturer on asset management, hedge fund seeding and incubation, financial advisory, product
development. MS Office, Excel, Word, PowerPoint.




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                                          EXHIBIT B

                      Complete Document List for Matthew T. Hoffman

TITLE                                                                     DATE         BATES
Apollo Investment Fund V, L.P., Fifth Amended and Restated Agreement of   4/19/2002    APOLLO
Limited Partnership, Dated as of April 19, 2002                                        00000032
Apollo Code of Ethics, February 2010                                      2/1/2010     APOLLO
                                                                                       00001762
Apollo Code of Ethics, April 2011                                         4/1/2011     APOLLO
                                                                                       00001861
Apollo Code of Ethics, November 2011                                      11/1/2011    APOLLO
                                                                                       00001962
Apollo Code of Ethics, December 2012                                      12/1/2012    APOLLO
                                                                                       00002059
Employee Expense Receipt Form, PeopleSoft Express, MRashid                10/15/2010   APOLLO
                                                                                       00004388
Apollo Global Management LLC, Travel & Expense Reimbursement Policies     1/1/2009     APOLLO
and Procedures, January 2009                                                           00004578
Apollo Global Management, Travel & Expense Reimbursement Policies and     12/5/2014    APOLLO
Procedures, Revised 12/05/14                                                           00004617
Apollo Global Management, Travel & Expense Reimbursement Policies and     12/24/2014   APOLLO
Procedures, Revised 12/12/14                                                           00004637
Apollo Global Management, Travel & Expense Reimbursement Policies and     11/1/2011    APOLLO
Procedures, Effective November 11, 2011                                                00004699
Apollo Global Management, Travel & Expense Reimbursement Policies and     NA           APOLLO
Procedures                                                                             00004711
Employee Expense Receipt Form, PeopleSoft Express, MRashid                11/3/2010    APOLLO
                                                                                       00040732
Employee Expense Receipt Form, PeopleSoft Express, MRashid                10/15/2010   APOLLO
                                                                                       00040763
Employee Expense Receipt Form, PeopleSoft Express, MRashid                9/22/2010    APOLLO
                                                                                       00040784
Employee Expense Receipt Form, PeopleSoft Express, MRashid                7/23/2010    APOLLO
                                                                                       00040799
Employee Expense Receipt Form, PeopleSoft Express, MRashid                6/3/2010     APOLLO
                                                                                       00040833
Employee Expense Receipt Form, PeopleSoft Express, MRashid, and           3/17/2010    APOLLO
Expense Report Approval Email April 1, 2010                                            00040845
Employee Expense Receipt Form, PeopleSoft Express, MRashid, and           4/13/2010    APOLLO
Expense Report Approval Email April 20, 2010                                           00040850
Employee Expense Receipt Form, PeopleSoft Express, MRashid, and           2/24/2010    APOLLO
Expense Report Approval Email March 17, 2010                                           00040857

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Employee Expense Receipt Form, PeopleSoft Express, MRashid                   1/6/2010    APOLLO
                                                                                         00041241
Apollo Code of Ethics Administration, Part I. Compliance Survey –            6/11/2014   APOLLO
Electronic Signature / Approval                                                          00041609
Apollo Code of Ethics Administration, Annual Compliance Survey –             5/15/2011   APOLLO
Electronic Signature / Approval                                                          00041615
Apollo Code of Ethics, Annual Compliance Survey and Holdings Report for      6/9/2011    APOLLO
the year ended December 31, 2010 - Signed                                                00041624
Compliance Science – Personal Trading Control Center, Accounts Certified –   3/13/2012   APOLLO
Electronic Signature / Approval                                                          00041636
Apollo – Caesars Annual Certification for year-end 2011, updated April 18,   4/19/2012   APOLLO
2012                                                                                     00041640
Compliance Science – Personal Trading Control Center, Accounts Certified –   1/31/2013   APOLLO
Electronic Signature / Approval                                                          00041643
Memo from Ali Rashid, to Apollo Human Resources, Subject: Yes: 2013          1/8/2013    APOLLO
Apollo Employee Handbook – Action Required                                               00041872
Apollo Natural Resources Partners, L.P., Private Placement Memorandum,       NA          APOLLO
                                                                                         00049668
Apollo Employee Handbook, Apollo 2011                                        5/7/2011    BDO-
                                                                                         APOLLO
                                                                                         00001130
Apollo Employee Handbook, Apollo 2012                                        1/1/2012    BDO-
                                                                                         APOLLO
                                                                                         00002644
Apollo Employee Handbook, Apollo 2013                                        1/1/2013    BDO-
                                                                                         APOLLO
                                                                                         00002695
AICPA American Institute of Certified Public Accountants, Due Diligence in   5/1/2015    NA
Tax Services
Alternative Investment Management Association Limited, AIMA, Guides to       6/1/2012    NA
Sound Practices, Objectives and Principles
Alternative Investment Management Association Limited, AIMA's Review of      2/1/2012    NA
the Year 2011
Alternative Investment Management Association Limited, AIMA's Review of      2/1/2013    NA
the Year 2012
Alternative Investment Management Association Limited, AIMA's Review of      2/1/2014    NA
the Year 2013
Apollo Investment Fund IV, L.P., Amended and Restated Agreement of           4/21/1998   NA
Limited Partnership, Dated as of April 21, 1998
Apollo Investment Fund VI, L.P., Amended and Restated Agreement of           8/26/2005   NA
Limited Partnership, Dated as of August 26, 2005
Apollo Investment Fund VII, L.P., Amended and Restated Agreement of          8/30/2007   NA
Limited Partnership, Dated as of August 30, 2007


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Bill & Melinda Gates Foundation, 2011 Employee Travel and Expense Policy    7/19/2011    NA
and Procedures: US-Based Employees
Calibre CPA Group, C-Bulletin Issue 03 02-15, Is Your Expense               2/1/2015     NA
Reimbursement Policy Compliant with IRS and DOL Guidelines? Mary
Margaret Prange, CPA
CFA Institute, 2012 GIPS Guidance Statement of Performance                  1/1/2012     NA
Chartered Financial Accountants, CFA, Code of Ethics                        NA           NA
ChromeRiver, 10 Expense Management Best Practices                           1/1/2016     NA
ChromeRiver, Benefits of Rules-Based Expense Reporting                      6/1/2012     NA
ChromeRiver, Best Practices in Expense Management for Professional          NA           NA
Services Firms
ChromeRiver, The Vital Importance of Business Rules for Effective Expense   NA           NA
Management
Complaint, Securities and Exchange Commission, Plaintiff, v. Mohammed       10/25/2017   NA
Ali Rashid, Defendant, No. 17-cv-8223
Concur, 11 Tips for Creating an Expense Policy                              10/1/2015    NA
Concur, 8 Tips for a Best-Practice Expense Process                          1/1/2013     NA
Defendant Mohammed Ali Rashid’s Answer and Affirmative Defenses, No.        8/13/2018    NA
17-cv-8223
Defendant Mohammed Ali Rashid’s Responses and Objections to Plaintiff       8/22/2018    NA
Securities and Exchange Commission’s First Set of Requests for Admission
Global Investment Performance Standards, GIPS, Factsheet                    7/1/2012     NA
Global Investment Performance Standards, GIPS, Guidance Statement on        10/1/2012    NA
Alternative Investment Strategies and Structures
Global Investment Performance Standards, GIPS, Guidance Statement on        7/1/2012     NA
Performance Examinations
Global Investment Performance Standards, GIPS, Guidance Statement on        1/1/2011     NA
Performance Record Portability
Global Investment Performance Standards, GIPS, Guidance Statement on        1/1/2011     NA
Recordkeeping Requirements
Global Investment Performance Standards, GIPS, Guidance Statement on the    1/1/2015     NA
Application of the GIPS Standards to Asset Owners
Grant Thornton, Private Equity Valuations: Best Practices and Pitfalls      1/1/2015     NA
ILPA Expense Definitions – Reporting Version 1.1 with Guidance              10/1/2011    NA
ILPA Institutional Limited Partners Association, Letter to The Honorable    7/28/2017    NA
Steven Mnuchin, Secretary of the Treasury from Jennifer Choi, Managing
Director
ILPA Institutional Limited Partners Association, Quarterly Reporting        10/1/2011    NA
Standards, Best Practices, Version 1.0, Released October 2011
ILPA Private Equity Principles Endorsements, Updated                        12/9/2011    NA
ILPA Private Equity Principles Endorsements, Updated                        11/21/2012   NA
ILPA Private Equity Principles Endorsements, Updated                        9/12/2013    NA
ILPA Private Equity Principles Endorsements, Updated                        4/1/2017     NA


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ILPA Private Equity Principles Endorsements, Updated                             7/1/2018    NA
ILPA, Institutional Limited Partners Association, Private Equity Principles,     1/1/2011    NA
Version 2.0
ILPA, Institutional Limited Partners Association, Quarterly Reporting            10/1/2011   NA
Standards, Best Practices, Version 1.0
ILPA, Institutional Limited Partners Association, Reporting Template             1/1/2016    NA
Guidance, Version 1.0
In the Matter of Apollo Management V, L.P., Apollo Management V, L.P.,           8/23/2016   NA
Apollo Management VI, L.P., Apollo Management VII, L.P., and Apollo
Commodities Management, L.P., Respondents, Release No. 4493 / August
23. 2016, Administrative Proceeding, File No. 3-17409

Institute of Chartered Financial Analysts, CFA, https://www.cfainstitute.org,    NA          NA
Code of Ethics
Institutional Limited Partners Association, Private Equity Principles, Version   1/1/2011    NA
2.0 (“ILPA”)
Investment Advisers Act of 1940, Release No. 4993 / August 23. 2016.             8/23/2016   NA
Administrative Proceeding, File No. 3-17409, In the Matter of Apollo
Management V, L.P., Apollo Management VI, L.P., Apollo Management VII,
L.P. and Apollo Commodities Management, L.P.

Investment Advisers Act of 1940, Statute Section 206 – Prohibited                NA          NA
Transactions by Investment Advisers, https://40act.com/laws-
rules/investment-advisers-act-of-1940-statute/section-206-prohibited-
transactions-by-investment-advisers/
Standards Board for Alternative Investments, The Alternative Investment          11/1/2015   NA
Standards, https://www.sbai.org/standards/summary-of-standards/
Videotaped Deposition of Mohammed Ali Rashid, March 19, 2019, Volume I           3/19/2019   NA
Videotaped Deposition of Mohammed Ali Rashid, March 20, 2019, Volume             3/20/2019   NA
II
Videotaped Deposition of Mohammed Ali Rashid, March 21, 2019, Volume             3/21/2019   NA
III
Wells Submission on Behalf of Ali Rashid, In the Matter of: Certain Apollo       2/6/2017    NA
Investment Management, LP, Fee Practices, No. HO-12597
Weston-Atlas Fund LLC, Travel and Expense Policy, 2006                           9/1/2006    NA
Declaration of Lorenco Goncalves                                                 5/11/2018   SEC-SEC-E
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Declaration of Anthony Hull                                                      5/15/2018   SEC-SEC-E
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Declaration of Donald Casey                                                      5/14/2018   SEC-SEC-E
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Declaration of Alexander Perriello                                               5/11/2018   SEC-SEC-E
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Declaration of Joseph Troy                                                       6/22/2018   SEC-SEC-E
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Declaration of Robert McPherson                            8/21/2018   SEC-SEC-E
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Declaration of Michael Cooney                              7/23/2018   SEC-SEC-E
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Declaration of Kevin Kelleher                              5/15/2018   SEC-SEC-E
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                    Table of Declarations from Portfolio Company Executives

Last, First      Dated          Numbered Sections from Summary Declarations                                          Bates
Name                                                                                                                 Number
Bitting, Mark    June 8, 2018   4. I have never received ties, shirts, electronics, gift cards, or any other gifts   SEC-SEC-E-
                                from Rashid.                                                                         0000130
Casey, Donald    May 14,        5. I did not have dinner in New York City with Rashid and Seth Truwit on             SEC-SEC-E-
                 2018           Saturday April 7, 2012. 8. I have never received ties, shirts, electronics, gift     0000012
                                cards, expensive wine, or any other gifts from Rashid.
Cohan, Robin     June 22,       4. I have never received electronics, clothing, gift cards, or any other gifts       SEC-SEC-E-
                 2018           from Rashid.                                                                         0000126
Cooney,          July 23,       4. I did not receive a gift from Ali Rashid in September 2010 or December            SEC-SEC-E-
Michael          2018           2010.                                                                                0000120
Enzor, Gary      June 26,       8. On February 3, 2013, Rashid brought a woman to the event; but in my               SEC-SEC-E-
                 2018           view, this … would not have justified Rashid treating his airfare, lodging, or       0000146
                                other travel expenses that weekend as … business expenses. 10. From 2010
                                through 2013 ...I never had dinner alone with Rashid. 13. I do not recall
                                Rashid ever paying for a dinner that I attended.14. I did not have dinner with
                                Rashid at Brother Jimmy's ...on Saturday, April 3, 2010. 15. I did not have
                                dinner at the Cooper Square Hotel with Rashid ...on Friday April 9, 2010. I
                                do not believe I have ever been [there]. 16. I did not have dinner with Rashid
                                at Peter Luger ...on July 28, 2010. I do not believe I have ever been [there].
                                17. I did not have dinner with Rashid in New York City on Saturday, August
                                14, 2010. I was in Bartow, Florida. 18. I did not have dinner with Rashid and
                                other members of the QDI management team ...on October 20, 2010. ...I took
                                a flight from Phoenix, Arizona to Tampa, Florida that day. 19. I did not have
                                drinks with Rashid ...on October 22, 2010. ...I was in Clearwater, Florida.
Ernst, Melissa   June 22,       4. I have never received electronics, clothing, gift cards, or any other gifts       SEC-SEC-E-
                 2018           from Rashid.                                                                         0000038
Goncalves,       May 11,        11. If we went to lunch or dinner, whether for business or purely social             SEC-SEC-E-
Lourenco         2018           reasons, I paid. I paid if I invited Rashid. I paid if Rashid invited me. 12. I do   0000004
                                not recall Rashid ever paying a dinner bill, whether it was for business or
                                pleasure. 15. December 2011 ...Rashid and Farah Khan, who I believed was
                                his girlfriend, came to my home in Brazil. ...stayed at least one night in my
                                home. ...was purely social. Rashid had no business purpose for this trip to
                                Brazil. ...we did not conduct business together in Brazil. 19. I did not have
                                dinner with Rashid ...in Bal Harbour. ...I have never been to Bal Harbour. 21.
                                I have never received ties, shirts, electronics, gift cards, or any other gifts
                                from Rashid. 22. There was no business reason for Rashid to be in Las Vegas
                                on behalf of or to benefit Metals USA in 2012. 23. There was no business
                                reason for Rashid to be in Cancun, Mexico on behalf of, or to benefit Metals
                                USA.
Gorman. M.       May 15,        5. I did not have dinner with Rashid and David Weaving in New York City at           SEC-SEC-E-
Ryan             2018           Koi on October 9, 2012. 6. I was at Mohawk Mountain House Resort on a                0000115
                                corporate retreat. 7. I have never received ties, shirts, electronics, gift cards,
                                expensive wine, or any other gifts from Rashid.
Gray             July 23,       4. I did not receive a gift from Ali Rashid in September 2010.                       SEC-SEC-E-
                 2018                                                                                                0000118




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Hull, Anthony    May 15,      9. I did not socialize with Rashid. 12. …there was not a lot of slack in the         SEC-SEC-E-
                 2018         budget. [We] did not spend much money on …executive meals. 21. I have                0000010
                              never met Rashid at or near the New Jersey Shore. 22. I did not have dinner
                              on Sunday August 1, 2010 with Rashid at a restaurant on the New Jersey
                              Shore called Shalimar Sweets. I have never been to Shalimar Sweets. 23.
                              There was not a Realogy business-related reason ...for Rashid to rent a car
                              and drive to the New Jersey shore and stay at Ocean House Bed & Breakfast
                              over the weekend of July 30-August 1, 2010. 24. I did not have a working
                              lunch with Rashid at Nobu ...on April 7, 2010 and I have never been to Nobu.
                              25. November 3, 2010. I have never been to Madam Geneva's Hidden Gin
                              Bar. 26. I did not have dinner with Rashid ...on November 3, 2010. 27. I did
                              not have drinks with Rashid ...on November 5, 2010. I have never been to
                              Avenue Spoon in New York. 28. ...there is no indication that I had lunch with
                              Rashid on Sunday, December 5, 2010. 29. ...no indication that I had dinner or
                              drinks with Rashid on Saturday, February 12, 2011 at D Wine Corporation. I
                              have never been to D Wine Corporation. 30. I did not have dinner with
                              Rashid ...at a Portuguese restaurant called Aldea on Wednesday, March 2,
                              2011. I have never been to Aldea. 31. ...there is no indication I had dinner
                              with Rashid ...on March 8, 2011. 32. I did not have dinner on Saturday, May
                              28, 2011 with Rashid at a restaurant on the New Jersey Shore call Shalimar
                              Sweets. 33. ...I [did not have] dinner with Rashid ...at the West Village Oasis
                              on July 14, 2011. 34. .I [did not have] dinner with Rashid ...at When It's Chile
                              It's Hot on April 9, 2012. 35. I have never received ties, shirts, electronics,
                              gift cards, or any other gifts from Rashid.
Kelleher,        May 15,      4. I have never received electronics, clothing, gift cards, expensive wine, or       SEC-SEC-E-
Kevin            2018         any other gifts from Rashid.                                                         0000121
Koci, Keith      July 11,     4. I did not have dinner with Rashid on February 27, 2011 at Sky Bar in              SEC-SEC-E-
                 2018         Miami, Florida. 5. I did not have dinner with Rashid on March 12, 2011 at            0000129
                              …Mr. Chow Enterprises. I do not recall having been to a restaurant named
                              Mr. Chow. 6. I did not have dinner with Rashid on March 12, 2011 at
                              ...Lucky 13 Associates. ...I was not in New York City in March 2012. 7. ...I
                              did not have dinner with Rashid on April 28, 2012 at ...Superior Restaurant
                              NYC. ...I was not in New York City in April 2012. 8. ...I did not have dinner
                              with Rashid on November 22, 2012 at the Bal Harbour Hotel. 9. ...I did not
                              have dinner with Rashid on May 15, 2011 at The Griffin. ...I was not in New
                              York City in May 2011. 10. ...I did not attend a meal with Rashid on January
                              22, 2012 at Louis Bar and Lounge. 11. ...I did not receive a Zegna tie from
                              Rashid in April 2012.
Krohn, Robert    July 19,     5. To the best of my recollection, I did not receive a Zegna tie from Rashid in      SEC-SEC-E-
                 2018         April 2012.                                                                          0000043
Lent, Peter      July 24,     4. To the best of my recollection, I did not receive a gift from Rashid in           SEC-SEC-E-
                 2018         September 2010 or December 2010.                                                     0000125
Lynch, Clinton   August 8,    4. To the best of my recollection, I did not receive a gift from Rashid in           SEC-SEC-E-
                 2018         September 2010.                                                                      0000132
Margelowsky,     August 8,    4. I have never received electronics, clothing, gift cards, or any other gifts       SEC-SEC-E-
Lorrel           2018         from Rashid.                                                                         0000134
Marshall,        July 18,     4. To the best of my recollection, I did not receive a gift from Rashid in           SEC-SEC-E-
Mickey           2018         September 2010.                                                                      0000136
Martens, David   July 17,     4. …I did not receive a gift from Rashid in September 2010. 5. …I did not            SEC-SEC-E-
                 2018         receive a Zegna tie from Rashid in April 2012.                                       0000137
McPherson,       August 22,   4. I did not have dinner with Rashid on August 21, 2010 at Restaurante               SEC-SEC-E-
Robert           2018         Caballito de Mar. 5. …I did not attend a meal with Rashid on January 22,             0000036
                              2011 at Louis Bar and Lounge. 6. …I did not have dinner with Rashid on
                              November 22, 2012 at the Bal Harbour Hotel. 7. ...I did not receive a gift
                              from Rashid in September 2010 or December 2010. 8. ...I did not receive a
                              Zegna tie from Rashid in April 2012.
Perriello,       May 11,      5. …I did not have dinner or drinks with Rashid …on November 3, 2010. 6. I           SEC-SEC-E-
Alexander        2018         do not recall ever having dinner or drinks with Rashid. 7. I have never              0000013
                              received ties, shirts, electronics, gift cards, expensive wine, or any other gifts
                              from Rashid.


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Smith, Richard    May 14,        10. I do not recall having dinner alone with Rashid. 12. I have never received       SEC-SEC-E-
                  2018           ties, shirts, electronics, gift cards, expensive wine or any other gifts from        0000032
                                 Rashid.
Smith, William    July 3, 2018   4. …I did not have a meal with Rashid on January 22, 2011 at Louis Bar and           SEC-SEC-E-
                                 Lounge. 5. …I did not have dinner with Rashid on March 12, 2011 at …Mr.              0000040
                                 Chow Enterprises. 6. …I did not have lunch with Rashid on December 13,
                                 2012 at RBC Bar Inc. 7. …I did not have lunch with Rashid on February 15,
                                 2013 at Nobu 57. ...I have not met John Hagerman or William Bennet, two of
                                 the participants listed as attending this lunch. 8. ...I did not have dinner with
                                 Rashid on July 11, 2011 at Barolo Ltd. 9. ...I did not receive a gift from
                                 Rashid in September 2010.
Stewart, Joseph   July 28,       4. To the best of my recollection, I did not receive a Zegna tie from Rashid in      SEC-SEC-E-
                  2018           April 2012.                                                                          0000119
Strutz, Randall   June 22,       4. I have never received ties, shirts, electronics, gift cards, or any other gifts   SEC-SEC-E-
                  2018           from Rashid.                                                                         0000033
Swift, Alicia     May 24,        4. …I did not have dinner with Rashid …in New York City at a Portuguese              SEC-SEC-E-
                  2018           restaurant called Aldea on March 2, 2011. I have never been to Aldea in New          0000042
                                 York City. 5. I have never received items of clothing, electronics, Bliss spa
                                 gift cards, or any other gifts from Rashid. 6. I have never received a baby gift
                                 of any kind from Rashid.
Troy, Joseph      June 22,       9. I do no recall Rashid ever paying for a meal that I attended. 10. …I did not      SEC-SEC-E-
                  2018           have dinner with Rashid at Sushi You in New York City on October 20,                 0000018
                                 2010. 11. …I did not have dinner or drinks with Rashid …on Friday, October
                                 22, 2010. 12. … I did not have dinner with Rashid ...on Saturday, February
                                 26, 2011. I had a business meeting in Tampa, Florida on ... February 26,
                                 2011. 13. ....I did not have dinner with Rashid in New York City on June 21,
                                 2011. ...I traveled from Tampa, Florida, to Maine on June 21, 2011, on a
                                 personal trip. 14. ...I did not have dinner with Rashid ...on September 1, 2011.
                                 ...I was [not] in New York that day. ...I had a postoperative doctor's
                                 appointment in Tampa, Florida on September 1, 2011. 15. ...I did not have
                                 dinner with Rashid ...on Saturday, April 21, 2012. ...I was in Tampa. 16. ...I
                                 did not have dinner with Rashid, John Wilson, and Jonathan Gold ...on
                                 Sunday, October 28, 2012. Moreover, Jonathan Gold ...left QDI in or about
                                 July 2012. 17. ...I did not have dinner with Rashid, Thomas Finkbiner, Bo
                                 Leslie, Jonathan Gold, and other QDI members at The Lion on February 14,
                                 2013. Moreover, Thomas Finkbiner, Bo Leslie, and Jonathan Gold were not
                                 employees of QDI in February 2013. 18. I do not recall receiving ties, shirts,
                                 electronics, gift cards, or any other gifts from Rashid.
Truwit, Seth      May 22,        11. …I did not have dinner in New York City with Rashid and Don Casey on             SEC-SEC-E-
                  2018           Friday January 28, 2011. 12. …I did not have dinner in New York City at              0000124
                                 Lucy's Restaurant with Rashid on Saturday, March 19, 2011. 13. …I did not
                                 have dinner in New York City with Rashid and Don Casey on Saturday, April
                                 7, 2012. 14. I have never received ties, shirts, electronics, gift cards,
                                 expensive wine, or any other gifts from Rashid.
Urban, James      July 23,       4. To the best of my recollection, I did not receive a gift from Rashid in           SEC-SEC-E-
                  2018           September 2010.                                                                      0000133
Wasser,           May 14,        6. I have never received clothing items, electronics, spa certificates, gift         SEC-SEC-E-
Marilyn           2018           cards, expensive wine, or any other gifts from Rashid.                               0000029
Weinrich,         July 12,       4. …I did not have lunch with Rashid on January 4, 2011 at The Burger Joint.         SEC-SEC-E-
Robert            2018           I do not recall attending any meals with Rashid. 5. …I did not have dinner           0000045
                                 with Rashid on November 22, 2012 at the Bal Harbour Hotel. 6. …I did not
                                 have dinner with Rashid on May 15, 2011 at The Griffin. 7. ...I did not
                                 receive shirts or ties from Ermenegildo Zegna BEV HLS from Rashid in July
                                 2010. 8. ...I did not receive a gift from Rashid in December 2010.




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Wilson, John   June 22,   7. QDI board members were required to …sign a declaration attesting to the           SEC-SEC-E-
               2018       truth thereof, an annual Directors' and Officers' Questionnaire. 8. Each year        0000048
                          from 2010 through 2012, Rashid completed and signed a QDI D&O
                          Questionnaire. …Rashid declared that he did not receive any "personal
                          benefits [from QDI] not integrally and directly related to job performance
                          ...[including] personal travel and entertainment expenses. 10. ...I did not have
                          dinner with Rashid ...in New York City on Sunday, October 28, 2012. ...I was
                          on a cruise ship on October 28, 2012. 11. ...I did not have dinner with Rashid
                          ...in New York City on February 14, 2013. ...I was in Tampa, Florida on
                          February 14, 2013.
Zipf, Bruce    May 10,    5. On December 23, 2010, I did not have a business dinner or drinks in New           SEC-SEC-E-
               2018       York City with Rashid. 6. I did not receive ties, shirts, electronics, gift cards,   0000117
                          expensive wine, or any other gifts from Rashid.




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